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CHAPTER 13 TRUSTEE
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                           UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF ARIZONA
                                     PHX DIVISION

In re: JEFFREY MARTIN STEVENS                §       Case No. 17-10375
       JILL ANNETTE STEVENS                  §
                                             §
              Debtor(s)                      §
         CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Edward J. Maney, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 08/31/2017.

       2) The plan was confirmed on 01/02/2018.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          NA.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 03/16/2018.

       5) The case was converted on 05/16/2018.

       6) Number of months from filing or conversion to last payment: 3.

       7) Number of months case was pending: 8.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $38,900.00.

       10) Amount of unsecured claims discharged without full payment: $0.00.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




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Receipts:
      Total paid by or on behalf of the debtor(s)                     $ 8,565.00
      Less amount refunded to debtor(s)                                    $ 0.00
NET RECEIPTS                                                                             $ 8,565.00



Expenses of Administration:

        Attorney's Fees Paid Through the Plan                         $ 3,000.00
        Court Costs                                                        $ 0.00
        Trustee Expenses & Compensation                                 $ 599.55
        Other                                                              $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                         $ 3,599.55

Attorney fees paid and disclosed by debtor(s):                        $ 1,500.00



Scheduled Creditors:
Creditor                                                 Claim       Claim       Claim   Principal      Interest
Name                                     Class       Scheduled    Asserted    Allowed        Paid          Paid
Vantage West Credit Union                Sec         25,180.00   16,750.00   16,750.00   2,458.43        409.75
Vantage West Credit Union                Uns              0.00    7,338.41    7,338.41       0.00          0.00
Wells Fargo Dealer Services              Sec         13,043.00   10,250.00   10,250.00   1,529.91        251.68
Wells Fargo Dealer Services              Uns              0.00    1,269.90    1,269.90       0.00          0.00
Wells Fargo Dealer Services              Sec          2,042.00      982.09      982.09     291.32         24.36
Franchise Tax Board                      Uns          8,710.00    7,373.36    7,373.36       0.00          0.00
Internal Revenue Services                Uns         25,000.00   20,826.00   20,826.00       0.00          0.00
Wells Fargo Education Financial Services Uns         16,441.00   16,764.72   16,764.72       0.00          0.00
CarMax Funding Services, LLC             Sec         12,907.00   11,556.90   11,556.90       0.00          0.00
U.S. Department of Education             Uns         46,015.00   46,766.29   46,766.29       0.00          0.00
Capital One Auto Finance                 Uns         25,326.00   19,439.77   19,439.77       0.00          0.00
Bank of America, N.A.                    Uns         16,293.00   16,075.31   16,075.31       0.00          0.00
American Express Centurion Bank          Uns         14,605.00   14,881.25   14,881.25       0.00          0.00
Bureau of Medical Economics              Uns            482.00         NA          NA        0.00          0.00
Capital One                              Uns              0.00         NA          NA        0.00          0.00
Chase                                    Uns         11,663.00         NA          NA        0.00          0.00
Mayo Clinic                              Uns            100.00         NA          NA        0.00          0.00
LERNER & ROWE LAW GROUP                  Lgl              0.00    4,500.00    4,500.00   3,000.00          0.00



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Summary of Disbursements to Creditors:

                                             Claim            Principal         Interest
                                             Allowed          Paid              Paid
Secured Payments:
      Mortgage Ongoing                            $ 0.00           $ 0.00            $ 0.00
      Mortgage Arrearage                          $ 0.00           $ 0.00            $ 0.00
      Debt Secured by Vehicle               $ 39,538.99       $ 4,279.66          $ 685.79
      All Other Secured                           $ 0.00           $ 0.00            $ 0.00
TOTAL SECURED:                              $ 39,538.99       $ 4,279.66          $ 685.79

Priority Unsecured Payments:
        Domestic Support Arrearage               $ 0.00           $ 0.00            $ 0.00
        Domestic Support Ongoing                 $ 0.00           $ 0.00            $ 0.00
        All Other Priority                       $ 0.00           $ 0.00            $ 0.00
TOTAL PRIORITY:                                  $ 0.00           $ 0.00            $ 0.00

GENERAL UNSECURED PAYMENTS:                $ 150,735.01           $ 0.00            $ 0.00



Disbursements:

       Expenses of Administration            $ 3,599.55
       Disbursements to Creditors            $ 4,965.45

TOTAL DISBURSEMENTS:                                          $ 8,565.00




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       12) The Trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests that the Trustee be discharged and granted such other relief as may be just and proper.




                                          Edward J. Digitally  signed by
                                                      Edward J. Maney, Esq.

Date: 05/22/2018
                                          Maney,
                                        By:
                                                 Esq. Date: 2018.05.22
                                                      11:04:18 -07'00'
                                                  Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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